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                      EXHIBIT 24
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                                                                    Page 1

1                         UNITED STATES DISTRICT COURT
2                       FOR THE NORTHERN DISTRICT OF OHIO
3       ----------------------------------------------x
4       IN RE: NATIONAL PRESCRIPTION                   MDL No. 2804
        OPIATE LITIGATION
5
        This Document Relates to:                      MASTER DOCKET NO.
6                                                      1:17-MD-2804
7       Jennifer Artz v Endo Health .
        Solutions, Inc.,et al.,
8       Case No. 1:19-op-4549
9       Darren and Elena Flanagan v.
        McKesson Corporation, et al.,
10      Case No. 1:18-op-45405
11      Michelle Frost, et al., v.
        Endo Health Solutions Inc., et al.,
12      Case No. 1:18-op-46327
13      Walter and Virginia Salmons, et al., v.
        McKesson Corporation, et al.,
14      Case No. 1:18-op-45268
15      ----------------------------------------------x
16                           *HIGHLY CONFIDENTIAL*
17                       DEPOSITION OF MELISSA BARNWELL
18
19      DATE:               Friday, February 7, 2020
20      TIME:               9:28 a.m.
21      LOCATION:           Hotel De Anza
                            233 West Santa Clara Street
22                          San Jose, California 95113
23
24      Reported By: Lynne Ledanois, CSR 6811
25      Job No. 3971084

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1                               MELISSA BARNWELL,
2           having been duly sworn, testified as follows:
3                                  EXAMINATION
4       BY MR. BURMAN:
5                Q      Ms. Barnwell, we met out in the hall.
6          But again, my name is Dave Burman with Tyler
7          Roberts.     I represent Costco in this matter, and
8          I'll do most of the questioning today.
9                A      Okay.
10               Q      Can you state your full name for us?
11               A      Melissa Phyllis Barnwell.
12               Q      Was that your birth name?
13               A      Yes.
14               Q      Have you used any other name over
15         time?
16               A      No.
17               Q      Are you represented by counsel today?
18               A      Yes.
19               Q      Who is your counsel?
20               A      Marc and Stephen and Stephen.
21               Q      When did you retain them or arrange to
22         have them as counsel?
23               A      I want to say it's been about a year,
24         maybe within a year's time.
25               Q      And have they explained to you the

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1                Q      Roughly how many documents do you
2          think you read?
3                A      A lot.
4                Q      More than 50?
5                A      Two binders, almost two binders full.
6                Q      And did you review those in advance of
7          meeting with the lawyers yesterday?
8                A      Some of it.
9                Q      Okay.     And were some of those
10         documents that you reviewed materials that you
11         had collected for the lawyers or were they all
12         new to you?
13               A      It wasn't -- it was new to me.
14               Q      Now, you mentioned that you live with
15         your two daughters.           That's             and           ?
16               A      That's correct.
17               Q      And are you a legal guardian of either
18         of them separate from being their birth mother?
19               A      I am their birth mother --
20                      MR. DANN:        Objection to the extent it
21               calls for a legal conclusion.
22                      Go ahead and answer that.
23      BY MR. BURMAN:
24               Q      To your knowledge.
25               A      I'm their legal guardian and I'm their

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1          birth mother.
2                Q      Legal guardian because a court
3          appointed you in some way or because you're
4          their birth mother?
5                A      Because I'm their birth mother and I
6          have been the one taking care of them.
7                Q      Have you ever not been their legal
8          guardian?
9                A      No.
10               Q      And have they both always lived with
11         you during their lives?
12               A      Yes.
13               Q      Now, there was an indication or some
14         additional information, as I mentioned
15         yesterday.     But let me understand, is
16         your only child with an NAS diagnosis?
17               A      No.
18               Q               also has that diagnosis?
19               A      Yes, that's correct.
20               Q      How about your two older children?
21               A      My two older children don't have that.
22         They were born perfectly fine.
23               Q      Were you also using opioid pain
24         medication during those two pregnancies, your
25         earlier children?

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1                A      Just recently.
2                       MR. DANN:        Do you think we could take
3                a break?      I would like to explore bringing
4                the temperature cooler in here.
5                       MR. BURMAN:         Sure.
6                       MR. DANN:        Thank you.
7                       MR. BURMAN:         Short break.
8                       MR. DANN:        Ten minutes?
9                       MR. BURMAN:         Okay.
10                               (Recess Taken.)
11      BY MR. BURMAN:
12               Q      Ms. Barnwell, you've had an
13         opportunity to talk with counsel during the
14         break; correct?
15               A      Yes.
16               Q      Is there anything that you want to
17         correct or supplement from your testimony this
18         morning?
19               A      Yes.
20               Q      What would that be?
21               A      When you were asking me about being a
22         class representative, can you ask that question
23         again?
24               Q      Sure.     Did you participate in the
25         decision to make this a class action?

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1                A      Yes.
2                Q      How did you -- why did you want it to
3          be a class action?
4                A      I wanted it to be a class action so
5          that way other children that are born, going to
6          be born or have already been born, so some type
7          of protocol can be done, a medical monitoring,
8          that's what this suit right here is about.
9                Q      So the suit now is limited to medical
10         monitoring?
11               A      Medical monitoring and protocols more
12         from birth to 18, better monitoring, maybe
13         information, more information.                  Things for the
14         children -- I mean for the parents that are
15         brought -- you know what I mean, the kids that
16         are brought home with the parents so the parents
17         can also have information how to handle and how
18         to deal with the children, what's the best
19         interest of the child.
20               Q      And if the medical monitoring was
21         provided, for example, by hospitals and
22         pediatricians, and in your case you didn't want
23         to talk to them because they had offended you,
24         would you force the medical monitoring on the
25         mother?

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